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                     UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


ROBERT D. KLINE,
              Plaintiff                     Civil Action No. _____________

          v.                                Removal from the Court of Common
                                            Pleas of Mifflin County, Pennsylvania,
THE ALIERA COMPANIES, INC.,                 No. CV-2020-123
and SHELLEY STEELE,
              Defendants.


                             NOTICE OF REMOVAL
      Pursuant to 28 U.S.C. §§ 1441 and 1446, Defendants The Aliera Companies,

Inc. (“Aliera”) and Shelley Steele (“Steele”) (collectively, “Defendants”) remove

to this Court the action pending in the Court of Common Pleas of Mifflin County,

Pennsylvania at No. CV-2020-123 and state as follows.

                                  BACKGROUND

      1.       On January 24, 2020, Plaintiff Robert D. Kline (“Kline” or

“Plaintiff”) initiated this action pro se in the Mifflin County, Pennsylvania, Court

of Common Pleas by filing a Praecipe for a Writ of Summons against each of the

Defendants. (See Exhibit A). The writ of summons did not identify Plaintiff’s

claims.

      2.       Plaintiff filed a complaint against Defendants on March 25, 2020. (See

Exhibit B). The Complaint is based on alleged marketing telephone calls made to
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Plaintiff by Defendants and asserts claims for (1) Violation of 47 U.S.C. §

227(b)(1)(A)(iii); (2) Trespass to Chattels; (3) Violation of the Telephone

Consumer Protection Act “Do-Not-Call Policy” Requirement of 47 C.F.R.

64.1200, et. seq.; and (4) Invasion of Privacy. The Complaint included a Certificate

of Service stating that it was served on Defendants by mail on March 25, 2020.

      3.      The Complaint is the only pleading filed in this action.

      4.      Aliera and Steele are the only defendants in the action.

      5.      This judicial district embraces the state court where the Complaint

was filed. See 28 U.S.C. §§ 118(b); 1441(a), 1446(a).

      6.      Defendants attach all process, pleadings, and orders that have been

filed, served, or received by Defendants in this action. (See Exhibits A and B).

      7.      Defendants will promptly serve a copy of this Notice of Removal on

Plaintiff and will file a copy of this notice with the Court of Common Pleas of

Mifflin County, Pennsylvania. See 28 U.S.C. § 1446(d).

      8.      Defendants do not admit that process was properly served on them or

that they are subject to personal jurisdiction in Pennsylvania and reserve their

rights to challenge and/or object on the basis of improper service and/or lack of

personal jurisdiction.

      9.      In removing this action, Defendants do not waive any rights or

defenses to which they are otherwise entitled, including but not limited to those set



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forth in Federal Rule of Civil Procedure 12(b), and all defenses available under

Pennsylvania law and its procedural rules.

                                     TIMELINESS

       10.    The Complaint was filed on March 25, 2020, and Defendants obtained

a copy of it thereafter by requesting a copy from the Court of Common Pleas. To

date, Defendants have not received a copy of the Complaint by mail from Plaintiff.

       11.    This Notice of Removal is timely because it was filed within 30 days

of March 25, 2020. See 28 U.S.C. § 1446(b).

       12.    The deadline for removal did not start to run when the writ of

summons was received, because the writ of summons did not identify a basis for

federal court jurisdiction. See Sikirica v. Nationwide Ins. Co., 416 F.3d 214, 223

(3d Cir. 2005).

                       FEDERAL COURT JURISDICTION

       13.    This Court has federal question jurisdiction under 28 U.S.C. § 1331

because Plaintiff’s claims for violation of federal statutes and regulations (Counts I

and III) “aris[e] under the . . . laws . . . of the United States.”

       14.    This Court has supplemental jurisdiction over Plaintiff’s state law

claims under 28 U.S.C. § 1367(a) because they “are so related to claims in the

action within [the Court’s] original jurisdiction that they form part of the same case

or controversy under Article III of the United States Constitution.”



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Date: April 23, 2020

                                   Respectfully Submitted,

                                   /s/ Anthony L. Gallia
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                                   Counsel for Defendants The Aliera
                                   Companies and Shelley Steele




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                          CERTIFICATE OF SERVICE

      I certify that today I served the foregoing Notice of Removal and all

attachments as follows:

      By express mail, next day delivery:

      Mr. Robert D. Kline
      2256 Fairview Road
      McClure, PA 17841

      Plaintiff Pro Se

Date: April 23, 2020
                                             /s/ Anthony L. Gallia
